



 





THIS OPINION
  HAS NO PRECEDENTIAL VALUE. IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN
  ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 268(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
        
          Edwin K.
          Hartzler, Appellant,
          
        
      
    
  

v.

  
    
      
        
          South Carolina
          Department of Mental Health, Respondent.
          
          
        
      
    
  

Appeal From Richland County
John M. Milling, Circuit Court Judge

Unpublished Opinion No. 2011-UP-196
  Submitted April 1, 2011  Filed April 28,
2011&nbsp;&nbsp;&nbsp; 

AFFIRMED


  
    
      
        Edwin K. Hartzler, pro se, of Columbia,
          for Appellant.
        Daniel R. Settana, Jr., and Erin M.
          Farrell, both of Columbia, for Respondent.
      
    
  

PER CURIAM: Edwin
  K. Hartzler appeals the circuit court's grant of summary judgment.&nbsp; We affirm[1] pursuant to Rule 220(b)(1), SCACR, and
  the following authorities: Rule 56, SCRCP
  (explaining summary judgment is properly granted when "the pleadings, depositions, answers to interrogatories,
    and admissions on file, together with the affidavits, if any, show that there is no genuine
  issue as to any material fact and that the moving party is entitled to a
  judgment as a matter of law"); Hoard v. Roper Hosp., Inc., 387 S.C.
  539, 545-46, 694 S.E.2d 1, 4&nbsp;(2010) ("Summary judgment is a drastic
  remedy and should be cautiously invoked so that a litigant will not be
  improperly deprived of trial on disputed factual issues."); id. ("The purpose of summary judgment is to expedite the disposition of cases
  which do not require the services of a fact finder." (citing Singleton
    v. Sherer, 377 S.C. 185, 659 S.E.2d 196 (Ct. App. 2008))); Fleming v.
      Rose, 350 S.C. 488, 493, 567 S.E.2d 857, 860 (2002) (holding when an appellate court reviews the grant of summary
  judgment, it applies the same standard that governs the circuit court under Rule
  56(c), SCRCP, and summary judgment is proper only when there is no genuine
  issue as to any material fact and the moving party is entitled to judgment as a
  matter of law).&nbsp; 
AFFIRMED.
FEW, C.J., KONDUROS, J.,
  and CURETON, A.J., concur.&nbsp; 
&nbsp;


[1] We decide this case without oral argument pursuant to
  Rule 215, SCACR. &nbsp;

